                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

GERDA ZINNER and STORY VANNESS,          )
                                         )
             Plaintiffs,                 )
                                         )
v.                                       )               Civil Action No. 3:23-cv-00535
                                         )
THE STATE OF TENNESSEE;                  )               Judge Aleta A. Trauger
STATE INSURANCE COMMITTEE, THE           )
STATE INSURANCE COMMITTEE                )               JURY TRIAL DEMANDED
MEMBERS IN THEIR OFFICIAL                )
CAPACITIES (Jim Bryson, David Lillard;   )
Jason Mumpower; Carter Lawrence; Juan    )
Williams; Bo Watson; Patsy Hazelwood;    )
Michelle Consiglio-Young; Judi Knecht;   )
Terry Carroll; and Holly Girgies); LOCAL )
EDUCATION INSURANCE COMMITTEE;           )
LOCAL EDUCATION COMMITTEE                )
MEMBERS IN THEIR OFFICIAL                )
CAPACITIES (Jim Bryson; David Lillard;   )
Jason Mumpower; Carter Lawrence;         )
Maryanne Durski; Kristy Baddour; Erin    )
Johnson; and Jennifer White); TENNESSEE  )
DEPARTMENT OF FINANCE AND                )
ADMINISTRATION; THE COMMISSIONER )
OF THE DEPARTMENT OF FINANCE             )
AND ADMINISTRATION IN HIS                )
OFFICIAL CAPACITY, Jim Bryson; THE       )
UNIVERSITY OF TENNESSEE; THE             )
PRESIDENT OF THE UNIVERSITY OF           )
TENNESSEE SYSTEM IN HIS OFFICIAL         )
CAPACITY, Randy Boyd; KNOX COUNTY        )
BOARD OF EDUCATION,                      )
                                         )
             Defendants.                 )

                   STATE DEFENDANTS’ MOTION FOR LEAVE
                  TO INCREASE PAGE LIMITS FOR REPLY BRIEF

       Defendants State of Tennessee; the State Insurance Committee; the Members of the State

Insurance Committee in their official capacities (Jim Bryson, David Lillard, Jason Mumpower,

Carter Lawrence, Juan Williams, Bo Watson, Patsy Hazelwood, Michelle Consiglio-Young, Judi



  Case 3:23-cv-00535      Document 71       Filed 10/03/23    Page 1 of 5 PageID #: 734
Knecht, Terry Carroll, Holly Girgies); the Local Education Insurance Committee; the members of

the Local Education Committee in their official capacities (Jim Bryson, David Lillard, Jason

Mumpower, Carter Lawrence, Maryanne Durski, Kristy Baddour, Erin Johnson, and Jennifer

White); the Tennessee Department of Finance and Administration; the Commissioner of The

Department of Finance Administration in his Official Capacity, Jim Bryson; The University of

Tennessee; the President of the University of Tennessee System in his Official Capacity, Randy

Boyd (collectively, the “State Defendants”) respectfully request leave for an enlargement of the

five page limit to their reply brief in support of their motion to dismiss to a limit of ten pages. The

Motion and Response raise numerous issues and address claims by different Plaintiffs whose legal

posture differ relative to the State Defendants. Given the complexity of these multiple issues, the

Parties have previously filed briefs with expanded page limits. Additionally, the U.S. Department

of Justice (“DOJ”) has supplemented Plaintiffs’ briefing with an 11-page Statement of Interest in

support of Plaintiffs. The requested expansion is necessary to adequately address the issues

presented to the Court in the Parties’ and DOJ’s prior briefing.

       Pursuant to L.R. 7.01(a)(1), counsel has conferred with the parties’ counsel of record.

Plaintiffs oppose the relief requested herein. Knox County Board of Education does not oppose

the requested relief.




  Case 3:23-cv-00535         Document 71          2 10/03/23
                                                 Filed               Page 2 of 5 PageID #: 735
          Respectfully submitted this 3rd day of October, 2023.

                                                      /s/ Reed N. Smith

                                                      Steven J. Griffin (Bar No. 40708)
                                                      Ryan N. Henry (Bar No. 40028)
                                                      Reed N. Smith (Bar No. 40059)
                                                      Assistant Attorneys General
                                                      Office of the Tennessee Attorney General
                                                      P.O. Box 20207
                                                      Nashville, TN 37202-0207
                                                      Phone: 615-741-9598
                                                      steven.griffin@ag.tn.gov
                                                      ryan.henry@ag.tn.gov
                                                      reed.smith@ag.tn.gov

                                                      Counsel for State Defendants


                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 3, 2023, the undersigned filed foregoing document using

the Court’s Electronic Court-Filing system, which sent notice of filing to the following counsel of

record:

 COUNSEL OF RECORD                                 PARTY REPRESENTED
 Ezra Cukor                                        Counsel for Plaintiffs
 Z. Gabriel Arkles
 Shayna Medley
 Transgender Legal Defense and Education
 Fund, Inc.
 520 8th Ave, Ste. 2204
 New York, NY 10018
 Telephone: (646) 862-9396
 Facsimile: (646) 993-1686
 ecukor@transgenderlegal.org
 garkles@transgenderlegal.org
 smedley@transgenderlegal.org

 J. Scott Hickman (No. 17407)
 Sherrard Roe Voigt & Harbison, PLC
 150 3rd Ave. South, Suite 1100
 Nashville, TN 37201
 Telephone: (615) 742-4200
 Facsimile: (615) 742-4539
 shickan@srvhlaw.com


  Case 3:23-cv-00535          Document 71        3 10/03/23
                                                Filed              Page 3 of 5 PageID #: 736
Phillip F. Cramer (No. 20697)
Sperling and Slater, LLC
150 3rd Ave. South, Suite 1100
Nashville, TN 37201
Telephone: (615) 742-4535
pcramer@sperling-law.com

Darren Teshima
Udit Sood
Covington & Burling, LLP
Salesforce Tower
415 Mission Street, Suite 5400
San Francisco, California 94105-2533
Telephone: (415) 591-6000
Facsimile: (415) 591-6091
E-mail: DTeshima@cov.com
E-mail: USood@cov.com

Suzan Charlton
Natalie Ritchie
Elaine H. Nguyen
Covington & Burling, LLP
One CityCenter
850 Tenth Street, NW
Washington, D.C. 20001-4956
Telephone: (202) 662-6000
Facsimile: (202) 778-5465
E-mail: SCharlton@.cov.com
E-mail: NRitchie@cov.com
E-mail: ENguyen@cov.com

Robert Winson
Covington & Burling, LLP
1999 Avenue of the Stars, Suite 3500
Los Angeles, CA 90067-4643
Telephone: (424) 332-4800
Facsimile: (424) 332-4749
E-mail: RWinson@cov.com

David M. Sanders (Bar No. 016885)             Counsel for Defendant Knox County Board of
Jessica Jernigan-Johnson (Bar No. 032192)     Education
Knox County, Tennessee
400 W. Main St., Suite 612
City-County Building
Knoxville, Tennessee 37902
Telephone: 865-215-3236
Facsimile: 865-215-2936


 Case 3:23-cv-00535       Document 71        4 10/03/23
                                            Filed           Page 4 of 5 PageID #: 737
David.Sanders@knoxcounty.org
Jessica.Johnson@knoxcounty.org
Kimberly S. Veirs                       Counsel for the United States
S. Jae Lim
719 Church Street, Suite 3300
Nashville, TN 32703
Telephone: 615-736-5151
Email: Kimberly.Veirs@usdoj.gov
Email: Jae.Lim@usdoj.gov



                                         Respectfully submitted,

                                          /s/ Reed N. Smith
                                          REED N. SMITH




 Case 3:23-cv-00535     Document 71    5 10/03/23
                                      Filed            Page 5 of 5 PageID #: 738
